       Case 1:25-cv-00613-MLB               Document 19-5      Filed 03/31/25    Page 1 of 5




                           The Office of Ulysses T. Ware
                                         123 Linden Blvd., Ste 9-L
                                           Brooklyn, NY 11226
                                              (718) 844-1260
                                          utware007@gmail.com

                                   Friday, March 28, 2025 , 1:34:24 PM

 Office of the District Clerk
 United States District Court (NDGA)
 75 Ted Turner Drive, SW
 Atlanta, Georgia 30303

 RE: 25cv00613 (NDGA)-Appellants' Submission for Immediate Filing and Docketing

 Dear Clerk of Court:

 Enclosed please find two jud~cial pleadings submitted on behalf of the Appellants in the above-
 referenced matter, designated as (Part 17-16) and (Part 17-17). Pursuant to 18 U.S .C. §§ 2071(a)
 and (b), we respectfully request the immediate filing and docketing of these pleadings in Case No.
 1:25-cv-00613 (NDGA).

 The enclosed documents form a critical part of the appellate record and require prompt attention.
 We therefore ask that you please file them upon receipt, and kindly reflect their submission on the
 District Court's docket at the earliest convenience.

 Should you have any questions or require additional information, please do not hesitate to contact
 me at (718) 844-1260 or via email at the address listed above. Thank you for your assistance in
 this matter.

 Respectfully submitted,

A U~sses T. War~
'---:'.d
                       A   /_


        /4~~ ;;> , vvt:,AL
  UlyssQ/ 'i:-Ware
 Attorney in Fact for the Appellants,
 Ulysses T. Ware and Group Management




 Page 1 of 1
 Friday, March 28, 2025
 (17-16 and 17-17) re Clerk's filing instructions
                             Case 1:25-cv-00613-MLB   Document 19-5          Filed 03/31/25                Page 2 of 5




                    UNITED ST/JTES                                        PRIORITY ®
                    POST/JL SERVICE®                                        MAIL
                                                             iii;f!f/1 UNITEDmTES         •I   PRIORITY~
                                                            l!J!,iitifl POSTAL SERVICE.   ·         MA I l
                                                         (t'i-"" ...., 01-,-:..J 01. 21.u YISITUS AT IJSK.COfif'
                                                                                               0,    ~·   £~.~~it~
                                                         FROM:
                                                          Tlu. oU:-,c. .J· Ulyu,.s T ', wMc.·
                                                          I 2-3 L\.alt.-t Q\.,11 "Sf( Cf-L
                                                           B-t..~b", ~'t ll 1,1.<.,
FLAT RATE ENVELOPE
0 E RATE ■ ANY WEIGHT

   r(l .~ J ! e ! T M ~ ?lclwp,
         scan me OR co..~.                                        TO:
                                                          Tiu. of4:o.• f. Kc. ~~ ,4,.~ Cl-t,,tk.
                                                           U.S. l)a~:,+ C•11•-t {N tt.AJ
                                                                     ~      , ... ,.._R,t"O\dC.
                                                          A;L-~.i .. r,,•U•tC       '4•·· ,_
                                                           t S Tel T.,.~.e.~ D.¥., sw
TRACKED ■ INSURED                                           A-t l-.,1"&, GA 30303
                                                         ...............        f!Ott OOlilUTlc A N O ~ Uff



               1111m
      PS00001000014
.___ _ _ _ __.
                                    EP'f(F ~     am
                                    Qi0:12f/2llt1/2
                                                                                    VISIT US AT USPS.COM0
                                                                                    ORDER FREE SUPPLIES ONLINE




                                                                                                                         ~ CamScanner
Case 1:25-cv-00613-MLB   Document 19-5   Filed 03/31/25   Page 3 of 5



                                 \Nu-t e.~-.l. v. ~ \'f h• Cop:+.c It~~•.
                                         1
                                  2.5 cv OOtot3 (.N nc.A)
                                  ~ .... c., 1..9. "'2,..o i..r

                                                   C:oJ.~.Js:
                                 p..+(11-l6)·.:fo\•1' l>e,l.,.. ..~: •tt




                                                                           'I   CamScanner
 Case 1:25-cv-00613-MLB                Document 19-5           Filed 03/31/25         Page 4 of 5




 11•16) (Part 17-16) 03.28.25 re Tbe Parties' Joint Declaration and
Stipulation of Rule 3.3 and 8.4 Vlolatio.os, and Sum Certain
Sti;ulattd Money Judgment Damages of 55.2225 billion, and In
Support        or•
             Co1rt-Suervtsed 8Yle J,1 Candor ,Pnm,dln1~
                       Case No. 1:2S-cv-006l3-MLB
                      UNITED STATES DISTRICT COURT
                     NO'RTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
Ul)HO 1'. Ware ud Group ~1-nagemHl (i sole propridorshlp).
Appt,lltnt1,

v.

Alph• Capital AC, t1 •L. tcdl!PD'. \!1ml1ls:nd lturr:Pr,lrr,.
ApJttlltt,.

(Ot1 A~.» ftem l11 rt tin,11, M11n.1 1tt•nfl Co,p., Ca,e No. tlJ..f.)OJJ (DC NDGA), C.ha·pttr
H)


· l'PELLANTS' A D APH:LLEES• J()l:NT DECLARATION ANO STIPULATION IN
SUPPORT OF A COUR1'--SlJPERVJSf:D ROtE 3.J CANDOR PROCEEmNG
REGARDING (0 LACK OF ARTICLE JU StJBJEC1' MATr!R JURISDICTION
(STAN0I 'C>. (II) VIOt.ATlOXS Of GEORGIA RIJLf:S OF PROFESSIONAL
CO~0\JC."T l.J AND IA, AND BA. 'Kil. RULE 901 l(b)(I ◄)~ AND (Ill) ntPULATED
CONSENT "9       Y .JUDGMIHT FOR 04.M.Mal. lOIN'ILV ~I) SIVDALLY, IN
THE      VM CERT        MOONT 0, t,.ll8 81t.UON. ,AYAat.£ TO THE
     ff~""'.a. VLl'    T,. WAD  DCllOUP ~""CIMF.NT.

R~fuJJy whmm.ed thjs          $'Ill day of brch 202.5 t l :05:32 PM

TM Offlft .r IJly   T. Wirt
UJ Lindm Bh·d,, See t.t ,
Broollyn. NY l I226

qfr~.w ~
P e t<if11
Friday, M tth 21, !OU
(17•16) {Pirt t1·1&) rt1 ftw Pitt~• Joint 'R' cS 3.hnd1'ulel.4 Oedaratlon. and St pu1at:Jonof ftchiQ
Yl!Ol.l\ion$ durint the 02cv2219 {st>NY), 03·93031 fBC NOGA}, and 2SN006U (N~ p.roc.ffdll'\CS; and
sti~tu dil'nllfl In the wm e, t11ln amount of $S,2US billion, and entry of con,ent Judgment, jointty
and MV'.•r.alJy.




                                                                                             m     CamScanner
   Case 1:25-cv-00613-MLB                      Document 19-5                       Filed 03/31/25   Page 5 of 5




-ll1•11)(P.-ri 11-11) Mtrehl1,10JJ, ~•••• -M •arantlum otfa(ff)aud
au.,.110:r,._.. S•ac.t*, Im. zo" 21t7t ,alnlltltf bl• 41(a)(J:) 1Ju1Juq_.t'1
__. _.._._. u APPtliftt KI'S; ltt dhoti, ltt p a ~ tl'Mtl.Jtrnltt.
•rf0Ptc$,          •••...-.••d all•--• MlteWttmt....,_.t,-.
                             Th~ Office of Ulysse,s T.. Ware
                                            l 2) Linden Ulvd., Ste 9~t.
                                              B~l)'fl. :NV I 1l26
                                                  (7HO 844-1260
                                             ytWi,1,re(,JOj;,t fm'A! . '•O --· 1




Re: l\1emorandum (#9) :re: Appellants' Amplified
Analysis-Absolute Prohibition on Reliance Upon
Annulled Aspects of 02cv22t9 (SONY) Inconsistent
with the Controlling Precluslve Effect of ,Judge Sand's
Dec. 20, 2007, Dkt. 90, Voluntary Rule 4t(a)(l) Final
Judgment. IJSAR Dkt. S-13 on pages 46-47l.

'J'ht Office •f Ul,-M T. Wa,¥t
ID l i.ndffl Sl\d,. S-te 9~L
Bn,o.U)'ft, NY t 112-6
0'1') M4.. fl(~
Ut\\-~if~1',(l,IW:~Wl




Ul}'Wft T. 'Warr
AOtlfflt'Y ir, f '.te1 f.,)f" A~Jl'..w:tt

~7~:i,w~
J>••-~tt
,:tiby. Mmh D , 2'021-
01•17) (Piltt 17-1'7) ~ ~ o f uw tffJ-Jtu~ U(•R2, fwl                    , ~r, AMU!ment of ,tt As'PfttS of
Ctcvlllt (SONYJ ~l.!Jt




                                                                                                        El   CamScanner
